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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF RHODE ISLAND

STEPHEN REISE

       V.                                                          C.A. NO.04 - 158 ML

A.T. WALL, et al.

                                 Report and Recommendation

Jacob Hagopian, Senior United States Magistrate Judge

       Stephen Reise ("Reise" or "plaintiff'), pro se, an inmate legally incarcerated at the Rhode

Island Department of Corrections ("DOC"), Adult Correctional Institutions, filed a Complaint and

named as defendants Ashbel T. Wall, Joseph Marocco, Dr. Scott Allen, Dr. Baruh Motola, and

Melvin White, current or former employees or officials at the DOC. Currently before the Court is

Dr. Motola's motion for surnmaryjudgment pursuant to Fed. R. Civ. P. 56(c). Plaintiffhas objected

thereto. This matter has been referred to me pursuant to 28 U.S.C. $ 636(b)(l)(B) for a report and

recommendation. For the reasons that follow, 1recommend that Dr. Motola's motion for summary

judgment be granted. A hearing was not necessary.

                                       Undisputed Facts

       On or about October 30, 1999, plaintiff began his incarceration at the Rhode Island

Department of Corrections. On November 24,1999, Dr. Motola conducted a physical examination

of the plaintiff. Thereafter, plaintiff was seen numerous times by various physicians while

incarcerated. '

       In July 2001, following complaints by other inmates of his snoring, plaintiff visited Dr.

Motola. At that time, Dr. Motola ordered that the plaintiff have a polysomnogram, often referred
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to as a "sleep test." The sleep test was conducted at the DOC on August 21 to August 22,2001 and

the results were interpreted by Dr. Richard Millman, Director of the Sleep Disorders Centers of

Lifespan Hospitals. Dr. Millman faxed his diagnosis to the DOC on September 12, 2001,

determining that the plaintiff suffered from "a severe degree of obstructive sleep apnea." Dr.

Millman recommended various options for treatment, including a Continuous Positive Airway

Pressure ("CPAP") machine. Dr. Millman did not request or order that the plaintiff be seen by him

further.

       After receiving the diagnosis from Dr. Millman, a written notation was made on the diagnosis

by Dr. Motola. There is a dispute as to what the notation reads. Plaintiff alleges that the notation

reads "to be seen in       clinic," referring to a clinic at Lifespan Hospital. Dr. Motola, however, has

indicated that the notation reads "to be seen in the clinic," and Dr. Motola indicated that he was

referring to the DOC'S in-house medical clinic.

           On September 27, 2001, plaintiff learned of his diagnosis from another DOC doctor,

defendant Dr. Allen. Dr. Allen ordered a CPAP machine to treat plaintiffs condition. Plaintiff

subsequently received the machine and used it nightly.

           On or about January2003, plaintiff claims that the CPAP machine needed replacement parts.

Plaintiff, however, never directly informed Dr. Motola that he needed replacement parts for his

CPAP machine, nor did the plaintiff bring any additional medical issues relating his sleep apnea to

Dr. Motola's attention.

       Plaintiff has brought suit, principally alleging an Eighth Amendment violation, applicable

to the states through the Fourteenth Amendment. Plaintiff claims that Dr. Motola failed to provide

adequate medical care, includingDr. Motola's alleged failure to promptly provide replacement parts
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for his CPAP machine. Plaintiff also alleges claims under the Fifth and Ninth Amendments and a

state-law claim of medical malpractice.

                                            Discussion

A. Summary Judgment Standard

       Summaryjudgment7srole in civil litigation is "to pierce the pleadings and to assess the proof

in order to see whether there is a genuine need for trial." Garside v. Osco Drun. Inc., 895 F.2d. 46,

50 (1" Cir. 1990). Summaryjudgment can only be granted when "the pleadings, depositions, answers

to interrogatories, and admissions on file, together with the affidavits, if any, show there is no

genuine issue as to any material fact and the moving party is entitled to judgment as a matter of

law." Fed. R. Civ. P. 56.

       Rule 56 has a distinctive set of steps. When requesting summaryjudgment, the moving party

must "put the ball in play, averring 'an absence of evidence to support a nonmoving party's case."'

Garside, 895 F.2d at 48 (quoting Celotex v. Catrett, 477 U.S. 3 17,325 (1986)). The nonrnovant then

must document some factual disagreement sufficient to deflect brevis disposition. Not every

discrepancy in the proof is enough to forestall summaryjudgment; the disagreement must relate to

some issue of material fact. See Anderson v. Libertv Lobby Inc., 477 U.S. 242,247-48 (1986).

       On issues where the nonrnovant bears the ultimate burden of proof, he must present definite,

competent evidence to rebut the motion. See id. at 256-57. This evidence "can not be conjectural or

problematic; it must have substance in the sense that it limns differing versions of the truth which

a fact finder must resolve at an ensuing trial." Mack v. Great Atl. & Pac. Tea Co., 871 F.2d 179,181

(1" Cir. 1989). Evidence that is merely colorable or is not significantly probative cannot deter

summary judgment. Anderson, 477 U.S. at 256-57.
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B. 42 U.S.C. 5 1983

       Plaintiff has brought suit under 42 U.S.C. 9 1983. Section 1983 provides, in pertinent part:

       Every person who, under the color of any statute, ordinance, regulation, custom, or
       usage, of any State or Territory or the District of Columbia, subjects, or causes to be
       subjected, any citizen of the United States or other person within the jurisdiction
       thereof to the deprivation of any rights, privileges, or immunities secured by the
       Constitution and laws, shall be liable to the party injured in an action at law, suit in
       equity, or other proper proceeding for redress....


42 U.S.C. 5 1983. En order to maintain a section 1983 action, the conduct complained of must be

committed by a "person" acting under color of-state law and the conduct must have deprived the

plaintiff of a constitutional right or a federal statutory right. Gomez v. Toledo, 446 U.S. 635,640;

see also Baker v. McCollan, 443 U.S. 137 (1979) (constitutionaldeprivations); Maine v. Thiboutot,

448 U.S. 1 (1980) (statutory deprivations). Here, there is no dispute that Dr. Motola acted under the

color of state law. However, Dr. Motola asserts that the undisputed facts demonstrate that no

Constitutional provisions were offended and that he is entitled to summaryjudgment. I agree.

       1. Plaintiff's Eighth and Fourteenth Amendment Claims.

       Plaintiffs primary basis for relief against Dr. Motola falls under the Eighth Amendment,

applicable to the states via the Fourteenth Amendment. Plaintiff claims that Dr. Motola failed to

provide adequate medical care, including Dr. Motola's alleged failure to provide in a timely fashion

replacement parts for plaintiffs CPAP machine.

       The Eighth Amendment provides: "[e]xcessive bail shall not be required, nor excessive fines

imposed, nor cruel and unusual punishments inflicted." U S . CONST.amend. VIII. The cruel and

unusual punishments clause of the Eighth Amendment was designed to protect those convicted of

crimes and limits the type of punishment that is imposed. Inmaham v. Wright, 430 U.S. 651,664
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(1977). After an individual is incarcerated, only the unnecessary and wanton infliction of pain

constitutes cruel and unusual punishment. Whitely v. Albers, 475 U.S. 3 12, 3 18-19 (1986). "It is

obduracy and wantonness, not inadvertence or error in good faith, that characterize the conduct

prohibited by the Cruel and Unusual Punishments Clause... ." @. What is required to establish the

unnecessary and wanton infliction of pain varies according to the nature of the alleged Eighth

Amendment violation. Hudson v. McMillian, 503 U.S. 1,9 (1992).

       Here, plaintiff alleges Dr. Motola failed to provide adequate medical care. The failure to

provide medical attention to an injured prisoner can be an Eighth Amendment violation. See e.g.

Lavnev. Vinzant, 657 F.2d 468 (1" Cir. 1981);Rosen v. Chanq, 758 F.Supp. 799 (D.R.I. 1991). "In

order to state a cognizable claim, a prisoner must allege acts or omissions sufficiently harmful to

evidence deliberate indifference to serious medical needs." Estelle v. Gamble, 429 U.S. 97, 106

(1976). In order to find deliberate indifference, there must be more than a showing that a physician

was negligent in diagnosing or treating apatient. @. Such negligence, ifpresent, does not rise to the

level of a Constitutional violation simply because the plaintiff is incarcerated. Id. Officials must

intentionally delay or completely deny access to medical care. JJ at 104-05.

       Deliberate indifference to an inmate's medical needs requires a two part inquiry. First, the

court must ask whether the inmate's medical needs are objectively serious (objective prong). The

illness must have "been diagnosed by a physician as mandating treatment or one that is so obvious

that even a lay person would easily recognize the necessity for a doctor's attention." Mahan v.
              8



Plvmouth Countv House of Corrections, 64 F.3d 14, 18 (1" Cir 1995). Second, there must be an

element of a culpable state of mind or reckless disregard rising to the level of criminal recklessness

on the part of the defendant (subjective prong). Farmer v. Brennan, 5 11 U.S. 825,826 (1994). The
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   "Eighth Amendment outlaws cruel and unusual punishments, ... and the failure to alleviate a

   significant risk that an official should have perceived but did not, while no cause for commendation,

   cannot be condemned as the infliction of punishment...."     Id.Only when both prongs are met, can
   Dr. Motola be liable for an Eighth Amendment violation.

            a. Obiective Prong

            Here plaintiff has set forth evidence demonstrating that he has an objectively serious medical

   need. Plaintiff has demonstrated that his condition, sleep apnea, has been diagnosed by Dr. Millman

   as "severe." See Defendant Motola's Exhibit A. Moreover, Dr. Millman indicated several treatment

   options to alleviate the plaintiffs severe condition. See id. Thus, plaintiff has set forth sufficient

   evidence to sustain his burden to demonstrate a serious medical need for Eighth Amendment

   purposes.

            b. Subiective Prong

            Since plaintiff has demonstrated that he has a serious medical need, the Court must next

   inquire into whether the plaintiff can demonstrate that Dr. Motola was deliberatelyindifferent to that

   need. In other words, plaintiff must set forth evidence that Dr. Motola had a culpable state of mind

   or reckless disregard rising to the level of criminal recklessness to plaintiffs serious medical need.

   See Farmer 5 11 U.S. at 826.
7- -




            In his Complaint, plaintiff claims that the delay in providing him with replacement parts for

   his CPAP machine constituted deliberate indifference. Plaintiff attempts to connect Dr. Motola to
                   &




   the alleged failure to provide such parts by identifymg an appointment he had at the DOC'S medical

   clinic regarding back pain on April 24,2003. In the course of this appointment, plaintiff claims he

   spoke to a DOC Nurse about the status of his replacement parts for his CPAP machine. According
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to plaintiff, the nurse indicated that the parts were requested. Also according to plaintiff, during his

exchange with the nurse, Dr. Motola was present and presumably overheard the conversation. While

this may be true, plaintiff never spoke directly to Dr. Motola regarding his alleged need for

replacement parts, nor did the plaintiff relay to Dr. Motola any indication that his health was in

jeopardy or his symptoms worsened due to the lack of timely replacement parts. The undisputed

facts demonstrate the plaintiff and defendant. Motola had       no direct communications regarding
plaintiffs request for replacement parts.

        Even assuming arguendo that Dr. Motola did overhear the conversation, no evidence has

been set forth by the plaintiff demonstrating that the plaintiffs condition was worsening or that the

plaintiff had an increase in symptoms. Indeed, plaintiff made no complaints to Dr. Motola regarding

his sleep apnea. Dr. Motola cannot be deliberately indifferent to something of which he did not

know. See Farmer, 5 11 U.S. at 826.

        Next, plaintiff attempts to establish conduct rising to the level of deliberate indifference by

pointing to a notation which defendant Motola made on Dr. Millman's written diagnosis. The

notation reads "9/12/01 To be seen in [the or that ] clinic." Plaintiff contends this was an instruction

by either Dr. Motola or Dr. Millman to schedule a follow-up examinationwith Dr. Millman. Plaintiff

argues that the failure to schedule such a follow-up examination with Dr. Millman demonstrates

deliberate indifference.

        While the parties dispute whether the notation reads "the" or "that," this is not a material
               t


dispute. The undisputed facts demonstrate that Dr. Millman did not write the notation, nor did Dr.

Millman make any request or order that plaintiff be seen for a follow-up visit. See Deposition of

Richard Millman, M.D., at 10 (12/15/04). The undisputed facts also demonstrate that Dr. Motola
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made the notation to alert the DOC medical staff to schedule the plaintiff for an appointment in the

DOC'S medical clinic. See Defendant Baruh Motola's Memorandum of Law in Support of his

Motion for Summary Judgment, Exhibit B at       7 e, f, g. Indeed, that is where the plaintiff was seen.
Plaintiff met with Dr. Allen on September 27,2001 to review Dr. Millman's diagnosis. No evidence

demonstrates any malfeasance on the part of Dr. Motola with respect to this notation. Plaintiff has

set forth no evidence demonstrating that Dr. Motola withheld medical treatment by failing to

schedule a follow-up appointment with Dr. Millman.

          Plaintiff further claims that Dr. Motola concealed from him the true severity of his sleep

apnea. Even if Dr. Motola had failed to fully inform plaintiff of the severity of his sleep apnea, no

evidence has been presented to indicate that such a failure would rise to the level of deliberate

indifference. Plaintiffs condition was diagnosed and he was provided equipment with which to treat

the symptoms.

          Plaintiff failed set forth any evidence whatsoever to demonstrate that Dr. Motola had a

culpable state of mind or reckless disregard to the plaintiffs medical needs. See Farmer, 51 1 U.S.

at 826. Plaintiff received treatment for his medical condition. Accordingly, I recommend that Dr.

Motola's motion for summaryjudgment be granted on plaintiffs Eighth and Fourteenth Amendment

claims.

          2. Plaintiffs Claims under the Fifth and Ninth Amendments.

          In his somplaint, plaintiff makes vague references to claims under the Fifth and Ninth

Amendments. However, no evidence, nor any argument has been presented to sustain claims under

these constitutional provisions. Accordingly, I recommend that Dr. Motola's motion for summary

judgment be granted on plaintiffs Fifth and Ninth Amendment claims.
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       3. Plaintiffs Constitutional Claims regarding the Policies and Practices at the Rhode

       Island Department of Corrections.

       Plaintiff also makes references to policies and / or practices at the Department of Corrections

regarding a variety of aspects of inmate's lives. What plaintiff fails to do, however, is connect Dr.

Motola to the policies or practices. That is, plaintiff fails to demonstrate that Dr. Motola has

promulgated the challenged policies or is involved in any way in the adoption of those policies.

Without personal involvement, Dr. Allen cannot be liable. Lopez Morales v. Otero de Rarnos, 725

F.Supp. 106, 106-107 (D.P.R. 1989). A theory of respondeat superior, if that is what plaintiff

alleges, will not suffice. Polk County v. Dodson, 454 U S . 312,325 (1981).

       Accordingly, to the extent that plaintiff seeks to hold Dr. Motola liable, under various

theories, for wrongful policies and/or practices, Dr. Motola's motion for summaryjudgment should

be granted on these claims as well. I so recommend.

C. Plaintiffs State Law Medical Malpractice Claim

       Finally, plaintiff asserts a claim under Rhode Island state law for medical malpractice. In

medical malpractice actions, a plaintiff must establish the appropriate standard of care and a

deviation therefrom by presenting competent medical expert testimony. Wilkenson v. Vesev, 295

A.2d 676 (R.I. 1972). The expert "must measure the care that was administered against the degree

of care and skill ordinarily employed in like cases by physicians in good standing engaged in the

same type of ,practice in similar localities." Richardson v. Fuchs , 523 A.2d 445, 448 (R.I.

1987)(citations omitted). The expert must explain "what proper procedures and alternatives are

available to a physician ... [and] why the procedures followed by the defendant physician were

negligent, and not legitimate alternatives." Sousa v. Chaset, 5 19 A.2d 1132, 1135 (R.I. 1987).
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        Here, plaintiff has failed to identify an expert to testify on his behalf, and failed to otherwise

 demonstrate that he possesses any evidence of the appropriate standard of care, any evidence

 demonstrating a deviation from the standard of care, or any evidence demonstrating causation to any

 injury. See e.n. Schenck v. Roger Williams General Hospital, 382 A.2d 514, 516-17 (R.I. 1977);

 Boccasile v. Caiun Music Limited, 694 A.2d 686, 690 (R.I. 1997). Without demonstrating that he

 possesses such evidence, plaintiffs medical malpractice claim cannot go forward. Plaintiff may not

 rely upon his own speculative conclusions on how he thinks he should have been treated.

 Accordingly, Dr. Motola's motion for summaryjudgment should be granted on plaintiffs medical

 malpractice claims. I so recommend.

                                              Conclusion

        For the reasons set forth above, I recommend that Dr. Motola's motion for summaryjudgment

 be granted on all of plaintiffs claims. Any objection to this Report and Recommendation must be

 specific and must be filed with the Clerk of Court within ten (10) days of its receipt. Fed. R. Civ. P.

 72(b); Local Rule 32. Failure to file timely, specific objections to this report constitutes waiver of

both the right to review by the district court and the right to appeal the district court's decision.

 United States v. Valencia-Copete, 792 F.2d 4 (1" Cir. 1986)(per curiarn); Park Motor Mart. Inc. v.

Ford Motor Co., 616 F.2d 603 (1" Cir. 1980).




Jacob ~ a g o p i k
Senior United States Magistrate Judge
June 2,2005
